   Case 3:19-md-02885-MCR-HTC Document 4038 Filed 04/23/24 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

  IN RE: 3M COMBAT ARMS                        Case No. 3:19md2885
  EARPLUG PRODUCTS
  LIABILITY LITIGATION

  This Document Relates to:                    Judge M. Casey Rodgers
  All Cases                                    Magistrate Judge Hope T. Cannon


                    CASE MANAGEMENT ORDER NO. 89
             (MSA III Extraordinary Injury Fund Deadline Warning)

         The deadline for submitting an application to the Extraordinary Injury Fund

(“EIF”) for Master Settlement Agreement (“MSA”) III Claimants (“Wave

Claimants”) is 11:59 p.m. Central Time on Thursday, April 25, 2024. The

Settlement Administrator, BrownGreer, will close the online application function for

Wave Claimants as soon as this deadline elapses—i.e., no application can be

submitted after the deadline. Wave Claimants and their counsel wishing to submit

an EIF Application must do so before the deadline. Waiting until the last minute to

submit an application is ill-advised. There will be no further warnings from the

Court.

         SO ORDERED, on this 23rd day of April, 2024.



                                   M. Casey Rodgers
                                   M. CASEY RODGERS
                                   UNITED STATES DISTRICT JUDGE
